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                         No. 24-40792


      IN THE UNITED STATES COURT OF APPEALS
              FOR THE FIFTH CIRCUIT


             TEXAS TOP COP SHOP, INC., et al.,

                                     Plaintiffs-Appellees,

                               v.

         MERRICK GARLAND, ATTORNEY GENERAL OF THE
         UNITED STATES, et al.,

                                     Defendants-Appellants.


         On Appeal from the United States District Court
               for the Eastern District of Texas


     REPLY IN SUPPORT OF EMERGENCY MOTION
           FOR A STAY PENDING APPEAL


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                 CERTIFICATE OF INTERESTED PERSONS

     A certificate of interested persons is not required under Fifth Circuit Rule

28.2.1 as appellants are all governmental parties.



                                                 s/Steven Hazel
                                                 Steven Hazel




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                                  INTRODUCTION

       Plaintiffs’ filing and the district court’s recent denial of a stay pending

 appeal only confirm the points made in our motion: there is no basis for any

 injunction against an Act of Congress, much less a universal injunction. On the

 merits, plaintiffs rely almost exclusively on a case holding that Congress may not

 regulate a class of individuals defined by their inactivity, but the statute at issue

 here regulates a class of entities defined by their propensity to engage in

 commercial transactions. On the equities, plaintiffs steadfastly refuse to quantify

 their compliance costs or even to assert that they are substantial, and the district

 court has now recognized that the government’s harms are real and significant and

 cannot be remediated if the injunction is later vacated. And on the scope of relief,

 plaintiffs rely almost entirely on supposed concessions by the government that the

 district court has now disclaimed and that are belied by the record.

                                     ARGUMENT

 I.    The Corporate Transparency Act is a valid exercise of Congress’s
       enumerated powers.
      The CTA is authorized by Congress’s commerce and necessary and proper

powers. It regulates commercial entities and forms a part of a regulatory scheme that

lies within the core of Congress’s authority.

      A. Plaintiffs’ merits argument relies almost exclusively on a misreading of the

Supreme Court’s decision in National Federation of Independent Business v.
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Sebelius (NFIB), 567 U.S. 519 (2012). Plaintiffs do not dispute that Congress holds

authority to regulate commercial activity. Nor do they dispute that their businesses

conduct commercial transactions. Instead, they claim that NFIB requires Congress to

regulate commercial activity directly and prohibits it from regulating the class of

“business entit[ies]” that currently and apparently uniformly engage in that activity.

Resp. 10–12.

      Nothing in NFIB justifies plaintiffs’ artificial distinction between regulating

economic activity and regulating the entities that engage in that activity. In NFIB,

the Supreme Court’s concern was not that Congress framed the insurance mandate as

regulating a class rather than an activity, but rather that the mandate regulated

individuals “whose commercial inactivity rather than activity is [their] defining

feature.” NFIB, 567 U.S. at 556–57 (opinion of Roberts, C.J.).

      The CTA regulates corporate entities whose defining feature is commercial

activity, not inactivity. Indeed, plaintiffs and their amici claim to represent hundreds

of thousands of entities subject to the CTA yet fail to identify a single one that

refrains from commercial activity. The CTA’s connection to commerce thus does

not depend on “prophesied future activity” that is “years, or even decades, away.”

NFIB, 567 U.S. at 557–58 (opinion of Roberts, C.J.). Instead, the reporting

requirements generally apply to “corporation[s]” and “similar entit[ies]” that are

currently doing business in the United States, 31 U.S.C. § 5336(a)(11)(A)—covering

businesses operating for years before the requirements came into effect, see id.
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§ 5336(b)(1)(B), and requiring both initial reports and reports of changes in

ownership, see id. § 5336(b)(1)(C)-(D).

      On its face, the Act makes clear that it regulates commercial activity. The Act

combats money laundering, the financing of terrorism, and other illicit transactions,

Pub. L. No. 116-283, div. F, § 6002(2), 134 Stat. 4547, 4547 (2021), by preventing

criminals from evading detection by shielding their identities from law enforcement.

Id. § 6402(3), 134 Stat. at 4604. The Supreme Court has repeatedly recognized

Congress’s authority to regulate “economic enterprise[s],” United States v. Lopez,

514 U.S. 549, 561 (1995), and to enact laws with an “apparent commercial

character,” United States v. Morrison, 529 U.S. 598, 611 & n.4 (2000). The

reporting requirements at issue here, which target “reporting compan[ies]” in service

of a larger effort to investigate and prevent harmful economic transactions, fall

squarely within that authority. 31 U.S.C. § 5336(a)(11)(A).

      That Congress proceeded by regulating the entities that engage in commercial

transactions is entirely natural and does not render the CTA any less commercial.

Plaintiffs’ contrary argument is equivalent to saying that although Congress can

regulate banks, regulations that might apply to an entity registered as a bank before it

has served its first customer are regulations of inactivity and thus invalid—as applied

not only to that bank but throughout the financial system.

      Plaintiffs similarly fail to grapple with the “very high bar” governing facial

challenges, Moody v. NetChoice, LLC, 603 U.S. 707, 723 (2024), a point in our stay
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motion that goes entirely unaddressed. See Mot. 11–12. Plaintiffs cannot

“establish[] that no set of circumstances exists under which the [CTA] would be

valid,” NetChoice, 603 U.S. at 723 (quotation marks omitted). Doing so would

require ignoring all of the circumstances, including plaintiffs’ own, in which the

statute applies to commercial actors. That is fatal to plaintiffs’ likelihood of success.

      B. The CTA is also authorized by the Necessary and Proper Clause because it

effectuates other federal powers, including Congress’s tax and foreign-affairs powers

and the President’s law-enforcement and national-security powers. Plaintiffs do not

dispute that Congress has validly enacted prohibitions on tax fraud, terrorist

financing, and other financial crimes. Nor do plaintiffs contest that the reporting

requirements are “rationally related to the implementation” of those concededly valid

prohibitions. United States v. Comstock, 560 U.S. 126, 134 (2010).

      Instead, plaintiffs renew their mistaken reliance on NFIB. Resp. 15. In that

case, the Supreme Court understood Congress to be claiming the “extraordinary”

authority “to compel citizens” to engage in commercial activity. NFIB, 567 U.S. at

560, 554 (opinion of Roberts, C.J.). But nothing about the CTA is similarly

extraordinary. “Regulation requiring the submission of information” is a “familiar”

legislative response to enforcement challenges. Electric Bond & Share Co. v.

Securities & Exch. Comm’n, 303 U.S. 419, 437 (1938). Congress has accordingly

established numerous reporting requirements for businesses, from securities

reporting, 15 U.S.C. § 78a et seq., to individual and corporate tax returns, 26 U.S.C.
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§§ 6012, 6031-6060. The CTA thus embodies a far more modest exercise of federal

power than creating a national bank, establishing a federal prison system, or enacting

significant portions of the federal penal code—all of which the Supreme Court has

sustained under the Necessary and Proper Clause. See Comstock, 560 U.S. at 136.

      For similar reasons, plaintiffs err in suggesting that the government’s reliance

on the Necessary and Proper Clause allows for “no limiting principle.” Response 15.

Legislation enacted pursuant to the Clause must effectuate a power vested in the

federal government, see Comstock, 560 U.S. at 133–34; preserve “the structure of

government established by the Constitution,” NFIB, 567 U.S. at 559 (opinion of

Roberts, C.J.); and comport with other constitutional provisions, see McCulloch v.

Maryland, 17 U.S. (4 Wheat.) 316, 421 (1819). That the CTA comports with those

constraints does not suggest that the same would be true of every hypothetical

congressional enactment.

      Plaintiffs do not appear to dispute that Congress can establish reporting

requirements to facilitate tax collection but maintain that there is no “tax to which the

CTA connects.” Resp. 16. But Congress determined that the reporting requirements

will increase deterrence and detection of “serious tax fraud” in many different areas,

including the evasion of individual and corporate income taxes. § 6402(3), (8), 134

Stat. at 4604–05. And while plaintiffs warn that if Congress can require corporate

ownership reporting, it could also compel reports regarding individuals’ “assets,”

Resp. 16, Congress already directs many individuals and businesses to disclose
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information about their assets on their tax returns. Plaintiffs’ other examples

misunderstand the limits on the government’s position. Upholding the government’s

ability to require the disclosure of the beneficial owners of corporations does not

imply that the government could require the disclosure of “friends and romances” or

any other information with a less evident connection to the exercise of Congress’s

enumerated powers. Id.

      Plaintiffs attempt to downplay the government’s foreign-policy and national-

security interests, Resp. 17, but Congress explained that anonymous transactions

threaten national-security interests, including by facilitating terrorist financing, and

the Executive Branch has agreed with that assessment. See § 6402(5)(B), (D), 134

Stat. at 4604; 87 Fed. Reg. 59,498, 59,498 (Sept. 30, 2022). Plaintiffs provide no

persuasive basis to second-guess that determination.

      C. Finally, plaintiffs’ cursory references to the First and Fourth Amendment

fail. The district court did not resolve those claims, and plaintiffs have failed to

develop them in this Court. They are in any event meritless. The CTA fits

comfortably within the category of reasonable reporting requirements that have long

been understood as raising no First or Fourth Amendment concerns. Congress and

States regularly enact such reporting requirements; the Supreme Court has rejected a

Fourth Amendment challenge to a requirement that is similar to the CTA in many

respects; see California Bankers Ass’n v. Shultz, 416 U.S. 21, 59-68 (1974), and

plaintiffs cite no authority casting doubt on such requirements.
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II.   The remaining factors favor a stay.
      A. As the district court’s order denying a stay pending appeal illustrates,

the court’s analysis of the equities was entirely dependent on its flawed

assessment of the merits. The court acknowledged that “when a statute is

enjoined, the Government necessarily suffers the irreparable harm of denying the

public interest in the enforcement of its laws.” Dkt. No. 40 at 7 (quoting Book

People, Inc. v. Wong, 91 F.4th 318, 341 (5th Cir. 2024)) (alterations omitted). It

further recognized that the government’s efforts to increase compliance with the

CTA were “significant” and “in service of a laudable end,” and that there is no

“reason to suggest that the Government could completely remediate any harm as a

result of the injunction.” Id. at 8. The court justified its conclusion that the

equitable factors support an injunction based solely on its erroneous view that an

injunction was necessary to vindicate constitutional limits. Nothing about the

district court’s assessment of the equities thus justifies denying a stay, especially

given the government’s strong likelihood of success on the merits as discussed

above.

      Plaintiffs, for their part, fail to establish any meaningful injury that would

result from a stay. They continue to refuse to quantify their compliance costs, or

even to assert that they are substantial. They instead rely primarily on asserted

constitutional rights, focusing their attention on claims under the First and Fourth

Amendments that have never been credited by any court. See Firestone v. Yellen,
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No. 3:24-cv-1034-SI, 2024 WL 4250192, at *9–11 (D. Or. Sept. 20, 2024);

Community Ass’ns Inst. v. Yellen, No. 1:24-cv-1597 (MSN/LRV), 2024 WL

4571412, at *8–9 (E.D. Va. Oct. 24, 2024). They further urge that a stay would

moot these claims, which is inaccurate given that the CTA’s reporting

requirements are ongoing, and in any event would not be the sort of harm that

could justify an injunction.

      Plaintiffs also assert harms based on the proximity of the compliance

deadline, but that argument ignores salient facts. Plaintiffs waited three and a half

years after the CTA’s enactment to initiate this suit, and as plaintiffs themselves

recognize, “a substantial period of delay militates against an injunction.” Resp. 25

(quotation marks omitted). This stay motion is being adjudicated shortly before

the January 1, 2025, reporting deadline not because the government took days to

file a stay motion, but because plaintiffs took years to file suit.

      Plaintiffs acknowledge that the injunction has compelled the government to

inform the public that companies are not currently required to comply with the

statute. Resp. 21. They do not dispute that this notification slows the pace of

reporting and will continue to do so as long as the injunction remains in effect.

The suggestion that the government should have “been forthcoming about its plan

to seek a stay,” id., tacitly concedes that a stay is necessary to prevent harm to the

government.

      Plaintiffs are also wrong to suggest that the government argued in district
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court that the preliminary-injunction motion was “premature.” Resp. 6 (plaintiffs’

emphasis). What the government actually said was that a preliminary injunction

would be inappropriate given how long plaintiffs waited to file this litigation, and

that “regardless of their delay, Plaintiffs have not demonstrated that a preliminary

injunction [wa]s necessary” to preserve the court’s ability to render a decision on

the merits given that at the time, six months remained before the compliance

deadline in which the parties could have resolved the case through dispositive

motions. Dkt. No. 18, at 8. The government withdrew that argument at the

motions hearing, Resp. Ex. A, at 37, but in any event the relevant point throughout

has been that these emergency proceedings would not be necessary if plaintiffs

had filed their lawsuit earlier. Plaintiffs have provided no explanation for their

failure to do so.

      B. At a minimum, the injunction should be stayed insofar as it extends

beyond the plaintiffs who have identified themselves. Although plaintiffs

acknowledge that the district court must exercise equitable discretion in crafting

an injunction, Resp. 25, they offer no response to the inherent unfairness of

allowing absent parties to benefit from a favorable ruling when they would not be

bound by an unfavorable one. Mot. 17–21. Even if plaintiffs were correct that the

district court had authority—based on inherent authority or the Administrative

Procedure Act—to issue nationwide relief, the district court’s exercise of that

authority here would be a clear abuse of discretion.
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      Plaintiffs’ only defense of nationwide relief misunderstands the

government’s argument. The government argued in district court, as it has argued

here, that relief to “NFIB’s members who have not even been named or disclosed

… would be effective nationwide relief.” Resp. Ex. A, at 54. That was not a

concession that such relief would be appropriate, as the district court later

recognized. Dkt. No. 40, at 6. Rather, it was a contention that the same problems

that arise from nationwide injunctions also arise from injunctions extending to

members of organizations that have not identified themselves. And although

plaintiffs suggest that the government “argued that even an injunction limited to

NFIB’s membership ‘would totally frustrate the goals and aims of the CTA and its

compliance standards,’ because of inconsistent application.” Resp. 25-26

(quoting Response Ex. A, at 54) (emphasis added), the government’s argument

did not relate to unfairness of requiring some parties to report and not others but

instead related to the need for as comprehensive reporting as possible. See Resp.

Ex. A, at 54 (“to be effective, there has to be participation”).

      There is therefore no basis for relief beyond the identified plaintiffs and

NFIB members, much less relief beyond the parties altogether, particularly now

that the district court has clarified that the government made no relevant

concession. In its recent denial of the stay, the district court stated that broad

relief was appropriate on the facts and circumstances of this case, without

explaining why, and it suggested in a footnote that uniformity was necessary to
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provide certainty to corporations about their compliance obligations. Dkt. No. 40,

at 5 n.1, 6. But companies presumably know whether they have identified

themselves in connection with this case and whether they are NFIB members.

Even if universal relief might be appropriate under some circumstances, it was an

abuse of discretion to provide it here.




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                               CONCLUSION

      For the foregoing reasons and those given in our motion, the district court’s

order should be stayed pending appeal. In the alternative, the injunction should be

narrowed to the companies that have been specifically identified in the district court

or, at a minimum, to the members of NFIB.

                                               Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because it contains 2,548 words. This brief also complies

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Procedure 27(d)(1)(E) and 32(a)(5)-(6) because it was prepared using Microsoft

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                                             s/Steven H. Hazel
                                             Steven Hazel
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                         CERTIFICATE OF SERVICE

      I hereby certify that on December 19, 2024, I electronically filed the

foregoing brief with the Clerk of the Court for the United States Court of Appeals

for the Fifth Circuit by using the appellate CM/ECF system. Participants in the

case are registered CM/ECF users, and service will be accomplished by the

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